Case 8:23-cv-00046-SCB-MRM Document 33 Filed 03/08/23 Page 1 of 2 PageID 263




                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA

                                    Case No. 8:23-cv-00046

JAMES COOKSEY,

       Plaintiff,
v.

EQUIFAX INFORMATION SERVICES,
LLC.,

      Defendant.
_______________________________________/

      JOINT STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE

        Plaintiff James Cooksey and Defendant Equifax Information Services, LLC., by and

 through respective undersigned counsel, pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules

 of Civil Procedure, file this Joint Stipulation of Voluntary Dismissal with Prejudice of the above

 styled action. Plaintiff and Defendant shall each bear their own attorneys’ fees and costs. All

 parties have reviewed this stipulation.

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                                            Page 1 of 2
Case 8:23-cv-00046-SCB-MRM Document 33 Filed 03/08/23 Page 2 of 2 PageID 264




Respectfully Submitted,

 /s/ Thomas J. Patti             .
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                                     Page 2 of 2
